     Case: 1:19-cr-00573 Document #: 42 Filed: 06/23/20 Page 1 of 1 PageID #:299

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00573
                                                         Honorable Edmond E. Chang
Robert S. Waksmundzki
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 23, 2020:


        MINUTE entry before the Honorable Edmond E. Chang: as to Robert S.
Waksmundzki: In light of the cardiac palpitations suffered by Defendant, and considering
the other 18 U.S.C. 3553(a) factors in Defendant's favor (remorse, extensive assistance,
lack of criminal history, and relatively short sentence), Defendant's motion for
compassionate release, 18 U.S.C. 3582(c) (1)(A)(i), is granted. The Court declines to add
home confinement, because the burden on location monitoring is not warranted. But the
Court will add other conditions of supervised release, to be included in the amended J&C,;
including the requirement to surrender for removal if so ordered and a reporting
requirement to the Probation Office to mitigate flight risk. (Immigration authorities are
also free to separately impose conditions, through the administrative process, if they
believe Defendant presents other risks.) The status hearing of 06/26/2020 is vacated.
Mailed notice (ma,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
